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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN

THOMAS A. FOX, for himself and all those
similarly situated                                   Case No. 19-cv-11887
      Plaintiffs,                                  Hon. Thomas L. Ludington
                                                   Magistrate Patricia T. Morris
      v.
                                                       FIRST AMENDED
COUNTY OF ALCONA by its BOARD OF                         COMPLAINT
COMMISSIONERS; CHERYL FRANKS, in her
individual and official capacity; COUNTY OF          (JURY DEMANDED)
ALPENA by its BOARD OF COMMISSIONERS;
KIMBERLY LUDLOW, in her individual and               ** CLASS ACTION **
official capacity; COUNTY OF ARENAC by its
BOARD OF COMMISSIONERS; DENNIS
STAWOWY, in his individual and official
capacity; COUNTY OF BAY by its BOARD OF
COMMISSIONERS; RICHARD F.
BRZEZINSKI, in his individual capacity;
COUNTY OF CLARE by its BOARD OF
COMMISSIONERS; JENNY BEEMER-
FRITZINGER, in her individual and official
capacity; COUNTY OF CRAWFORD by its
BOARD OF COMMISSIONERS; KATE M.
WAGNER, in her individual and official capacity;
JOSEPH V. WAKELEY, in his individual
capacity; COUNTY OF GENESEE by its BOARD
OF COMMISSIONERS; DEBORAH CHERRY,
in her individual and official capacity; COUNTY
OF GLADWIN by its BOARD OF
COMMISSIONERS; CHRISTY VAN TIEM, in
her individual and official capacity, COUNTY OF
GRATIOT by its BOARD OF
COMMISSIONERS; MICHELLE THOMAS, in
her individual and official capacity; COUNTY OF
HURON by its BOARD OF COMMISSIONERS;
DEBRA MCCOLLUM, in her individual and
official capacity; COUNTY OF ISABELLA by its



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BOARD OF COMMISSIONERS; STEVEN W.
PICKENS, in his individual and official capacity;
COUNTY OF JACKSON by its BOARD OF
COMMISSIONERS; and KAREN COFFMAN, in
her individual and official capacity, COUNTY OF
LAPEER by its BOARD OF COMMISSIONERS;
DANA M. MILLER, in her individual and official
capacity; COUNTY OF LENAWEE, by its
BOARD OF COMMISSIONERS, MARILYN J.
WOODS, in her individual and official capacity,
COUNTY OF MACOMB, by its BOARD OF
COMMISSIONERS; LAWRENCE ROCCA, in
his individual and official capacity; COUNTY OF
MIDLAND by its BOARD OF
COMMISSIONERS; CATHY LUNSFORD, in her
individual and official capacity; COUNTY OF
MONTMORENCY by its BOARD OF
COMMISSIONERS; JEAN M. KLEIN, in her
individual and official capacity; COUNTY OF
OGEMAW by its BOARD OF
COMMISSIONERS; DWIGHT MCINTYRE, in
his individual and official capacity; COUNTY OF
OSCODA by its BOARD OF
COMMISSIONERS; WILLIAM KENDALL, in
his individual and official capacity; COUNTY OF
OTSEGO by its BOARD OF COMMISSIONERS;
DIANN AXFORD, in her individual and official
capacity; COUNTY OF PRESQUE ISLE by its
BOARD OF COMMISSIONERS; BRIDGET
LALONDE, in her individual and official capacity;
COUNTY OF ROSCOMMON by its BOARD OF
COMMISSIONERS; REBECCA RAGAN, in her
individual and official capacity; COUNTY OF
SAGINAW by its BOARD OF
COMMISSIONERS; TIMOTHY M. NOVAK, in
his individual and official capacity; COUNTY OF
SANILAC by its BOARD OF
COMMISSIONERS; TRUDY NICOL, in her
individual and official capacity; COUNTY OF ST
CLAIR by its BOARD OF COMMISSIONERS;

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KELLY ROBERTS-BURNETT, in her individual
and official capacity; COUNTY OF TUSCOLA by
its BOARD OF COMMISSIONERS; PATRICIA
DONOVAN-GRAY, in her individual and official
capacity; COUNTY OF WASHTENAW, by its
BOARD OF COMMISSIONERS, CATHERINE
MCCLARY, in her individual and official
capacity, SHAWNA S. WALRAVEN, in her
individual and official capacity;

      Defendants
                                                    /

                       FIRST AMENDED COMPLAINT

      Plaintiff THOMAS A. FOX, both individually and on behalf of a class of

similarly situated individuals and entities, by and through counsel, for his Complaint

states as follows:

                                INTRODUCTION

      1.     This is a case of gross governmental abuse that cries out for a remedy.

Counties throughout this District have illegally seized property in the form of

excess/surplus equity from private citizens without any compensation at all.

      2.     The abuse stems from the Defendant Counties’ tax foreclosure process.

Michigan law generally authorizes counties to foreclose on parcels in order to satisfy

outstanding unpaid property taxes. But the Defendant Counties and their officials

abuse this process. They do not foreclose on the parcel; sell it; keep the amount of

the outstanding taxes plus reasonable fees; and return the rest to the property owner.

Rather, they foreclose; sell the property at a reduced amount; and keep all of the

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proceeds and excess/surplus equity for themselves. As a result, property owners lose

the entire value of their property, which is often orders of magnitude more than the

outstanding tax bills.

      3.     As set forth below, this constitutes a violation of the Fifth, Eighth, and

Fourteenth Amendments of the United States Constitution; a violation of Article X

Section 2 of the Michigan Constitution; and an impermissible inverse condemnation

under Michigan law.

                                     PARTIES


      4.     Plaintiff Thomas A. Fox is resident of Gratiot County who owned

property in Gratiot County.

      5.     Defendants Counties of Alcona, Alpena, Arenac, Bay, Clare, Crawford,

Genesee, Gladwin, Gratiot, Huron, Isabella, Jackson, Lapeer, Lenawee, Macomb,

Midland, Montmorency, Ogemaw, Oscoda, Otsego, Presque Isle, Roscommon,

Saginaw, Sanilac, St Clair, Tuscola, and Washtenaw are named as legal entities

formed and/or existing under the laws of the State of Michigan and are controlled or

operated by duly-designated Boards of Commissioners.

      6.     The individually-listed Defendants are or were public officials serving

as county treasurers for their respective county and are sued in their personal,

individual capacities.




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       7.     The individually-listed Defendants, except Defendants Joseph V.

Wakeley and Richard F. Brzezinski, are current, office-holding public officials

serving as county treasurers for their respective county and are also sued in their

official capacities.

       8.     Each treasurer is a Foreclosing Governmental Unit by the affirmative,

voluntary, and discretionary decision of each respective county as its own county

policy pursuant to MCL §211.78.

                                 JURISDICTION

       9.     This is a civil action brought seeking unpaid “just compensation” and

other monetary damages against Defendants for violations of the Fifth, Eighth and

Fourteenth Amendments of the United States Constitution.

       10.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, which

authorizes federal courts to decide cases concerning federal questions; 28 U.S.C. §

1343, which authorizes federal courts to hear civil rights cases; 28 U.S.C. § 2201,

which authorizes declaratory judgments via the Declaratory Judgment Act; and 28

U.S.C. § 1367, which authorizes supplemental state law claims.

       11.    Venue is proper in this Court as Defendants, individually and

collectively, conduct or have conducted their business in the Eastern District of

Michigan. Indeed, the Counties are not only situated within the District, but the

Court’s ’s organization is defined in terms of the Counties. 28 U.S.C. § 102.



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                           GENERAL ALLEGATIONS

I.    Michigan’s Tax Foreclosure Process

      12.    Like many states, Michigan provides for the taxation of real property

in order to finance local governments such as counties, municipalities, and school

districts and the collection of delinquent taxes

      13.    However, this case involves what happens after the taxation process is

completed and excess or surplus equity remains after each county is paid in full for

all delinquent taxes, interest, penalties, and fees. See Coleman v. District of

Columbia, 70 F.Supp.3d 58 (2014).

      14.    The Defendants administer a foreclosure-and-auction process

generally, so that after they sell a parcel at auction (often times for less than its fair

market value), they retain the entire amount of the proceeds. Furthermore, even if

the sale proceeds exceed the amount of the delinquent taxes – indeed, even if the

proceeds far exceed the tax bill – they do not return any of the excess to the

property’s former owner or provide compensation for that portion of the Equity

destroyed by underselling the parcel

      15.    As used in this Complaint, “Tax Delinquency” means the past due tax

owed on a property plus additional compounding interest, fees, penalties, and costs;

“Equity” means the amount by which a property’s value exceeds its Tax

Delinquency.



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II.   The Foreclosure of the Plaintiff’s Property and Seizure of Equity

      16.     Plaintiff Thomas A. Fox was the owner(s) of 109 South Court Ave,

Alma, Michigan (hereinafter the “Property”).

      17.     The Property is located within Gratiot County.

      18.     As of date of the auction sale, the Property accrued a Tax Delinquency

of approximately $3,091.23.

      19.     On or around February 21, 2017, Defendant Michelle Thomas seized

ownership of the Property on behalf of Gratiot County as its duly elected treasurer.

      20.     As of that date, the Property had a State Equalized Value of $25,200.00.

Because the fair market value of a property is at least twice the amount of its State

Equalized Value, this means that the government would have known or should have

known that said property had a fair market value of at least $50,400.00.

      21.     On behalf of Gratiot County, Defendant Michelle Thomas sold the

Property at a tax auction and conveyed the Property on or about August 16, 2017 for

$25,500.00.

      22.     Thus, the difference between what Plaintiff Thomas A. Fox owed as a

Tax Delinquency and what the County received was $22,408.77. The difference

between what Plaintiff Thomas A. Fox owed as a Tax Delinquency and the minimum

fair market value of the Property was $47,308.77.




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      23.    Given that the minimum fair market value of the property was

$50,400.00, and given that the Tax Delinquency was $3,091.23, Plaintiff Thomas A.

Fox had at least $47,308.77 in Equity in the Property.

      24.    Even taking the most conservative approach, and assuming arguendo

that Equity were defined as the difference between the auction price and the

outstanding Delinquent Tax, Plaintiff had at least $22,408.77 in Equity in the

Property.

      25.    The County of Gratiot and Defendant Michelle Thomas seized this

Equity from Plaintiff by foreclosing the Property, selling it at auction for an amount

much lower than its fair market value, but still far more than the Tax Delinquency,

and failing to return any of the Equity to Plaintiff.

      26.    Neither the County of Gratiot nor Defendant Michelle Thomas afforded

Plaintiff any process, plan, or legal mechanism to seek or achieve the return the

Equity they seized.

      27.    Thus, the County of Gratiot and Defendant Michelle Thomas took or

destroyed all of Plaintiff’s Equity in the Property.

      28.    Defendant Michelle Thomas and the County of Gratiot refused and

refuse to pay just compensation for Plaintiff’s Equity in the Property. These

Defendants also have failed to provide any mechanism at all for any such

compensation.



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       29.     Neither the County of Gratiot nor Defendant Michelle Thomas initiated

any condemnation action or process for the Plaintiff’s Equity in the Property.

       30.     In addition to the Property, these Defendants have, in an identical

fashion as outlined above, seized Equity from other pieces of real property within

Gratiot County from Plaintiff Thomas A. Fox and others.

       31.     Moreover, the other named Defendants and Defendant Counties have

carried out this practice in their respective jurisdictions.

III.   The Conduct at Issue Here Reflects County Policy

       32.     The actions described herein is a voluntary policy, custom, and/or

practice of each County Defendant and/or its final policymaker.

       33.     This voluntary policy and/or practice of each County Defendant and/or

its final policymaker is sufficient to impose damages and other relief pursuant to

Monell v. New York City Department of Social Services, 436 U.S. 658 (1978), and

its progeny.

       34.     Specifically, each respective County made the affirmative, voluntary,

and discretionary decision to select and designate its own county’s treasurer to act

as the Foreclosing Governmental Unit.

       35.     Moreover, each of the Defendant Counties, either through legislative

enactment of laws or regulations, official agency or governmental entity policy,

and/or actions taken by an official or officials with final decision-making authority



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has administered the County’s foreclosure and auction process generally, including

MCL § 211.78m(8), so that after the County sells a parcel at auction, the County

retains the entire amount of the proceeds, even if the proceeds exceed the amount of

the Tax Delinquency, and never returns anything to the property owner, nor provides

any mechanism by which the property owner can secure a return of his, her, or its

equity.

      36.    Accordingly, the actions at issue here were undertaken pursuant to an

official county policy for purposes of Monell, 436 U.S. 658.

      37.    The General Property Tax Act, and specifically MCL § 211.78m(8),

does not require the practices that Plaintiff complains of. Rather, the Act can be fairly

read to provide for Equity to be returned to the previous owner of a foreclosed

property before the resulting funds are allocated.

      38.    In the alternative, the Act, and in particular MCL § 211.78m(8), are

inherently unconstitutional: if the Act requires Defendants’ conduct as set forth

herein, then, the Act violates the Michigan and United States Constitutions for all of

the reasons that Defendants’ conduct violates them.

      39.    The actions of Defendants were designed to intentionally or wantonly

cause harm to Plaintiff and the Class due to the utter disregard of Plaintiff’s and the

Class’ constitutionally protected rights.




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                              CLASS ALLEGATIONS

      40.    This action is brought by Plaintiff individually and pursuant to Federal

Rules of Civil Procedure 23(a) and (b)(2)-(3) on behalf of the owners of real property

in the counties of Alcona, Alpena, Arenac, Bay, Clare, Crawford, Genesee, Gladwin,

Gratiot, Huron, Isabella, Jackson, Lapeer, Lenawee, Macomb, Midland,

Montmorency, Ogemaw, Oscoda, Otsego, Presque Isle, Roscommon, Saginaw,

Sanilac, St Clair, Tuscola, and Washtenaw during the relevant statutorily-limited

time period who were subject to the unconstitutional processes which resulted in the

taking and/or unconstitutional forfeiture of their surplus or excess equity beyond the

tax debt owed and due, but excluding those who have separately filed their own

personal post-forfeiture legal actions in state or federal courts.

      41.    The proposed class consists of all the owners of real property in the

following counties, whose real property, during the relevant time period, was seized

through a real property tax foreclosure, which was worth and/or which was sold at

tax auction for more than the total tax delinquency and who was not refunded the

value of the property in excess of the delinquent taxes owed: Alcona, Alpena,

Arenac, Bay, Clare, Crawford, Genesee, Gladwin, Gratiot, Huron, Isabella, Jackson,

Lapeer, Lenawee, Macomb, Midland, Montmorency, Ogemaw, Oscoda, Otsego,

Presque Isle, Roscommon, Saginaw, Sanilac, St Clair, Tuscola, and Washtenaw.




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      39.      The number of persons who have been injured by the practices

discussed herein is sufficiently numerous to make class action the most practical

method to secure redress for the injuries sustained and to provide class wide

equitable relief.

      40.      Plaintiff’s claims are common to, and typical of, those raised by the

Class he seeks to represent, including:

            a. Whether the counties and their respective treasurers are and have been

               voluntarily exercising discretion to administer MCL 211.78 in an

               unconstitutional or otherwise illegal manner, or whether the counties

               and their respective treasurer are and have been acting to voluntarily

               enforce an unconstitutional statute which each has willingly assumed

               to undertake pursuant to discretion via MCL § 211.78;

            b. Whether each class member’s property, prior to foreclosure, was worth

               and was sold for more than the total Tax Delinquency owed to the

               respective county;

            c. Whether each class member’s property had a fair market value greater

               than the total Tax Delinquency owed to the respective county;

            d. Whether the county treasurers destroyed or took Equity when selling

               class member’s property at a reduced, below fair market value price;




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            e. Whether the county treasurers then kept the remaining Equity for the

               benefit of their respective counties; and

            f. Whether the county treasurers failed to pay just compensation, failed to

               initiate any form of condemnation proceedings, or failed to have or

               undertake a process to return the Equity.

      42.      There are clear questions of law raised by the named Plaintiff’s claims

common to, and typical of, those raised by the Class he seeks to represent, including:

            a. whether MCL § 211.78m forbids Defendants from returning Equity to

               Class Members;

            b. whether, if MCL § 211.78m does entail such a prohibition, the statute

               is facially unconstitutional;

            c. whether the Defendants committed an unconstitutional taking by

               refusing to pay just compensation when seizing Equity beyond the Tax

               Delinquency, and have appropriated property in the form of Equity

               without the payment of just compensation in violation of the Fifth and

               Fourteenth Amendments to the United States Constitution and Article

               X, Section 2 of the Michigan Constitution;

            d. whether the Defendants committed an inverse condemnation by

               destroying Equity via the seizure process and/or the later sale of

               property at a highly reduced, below fair market price and then retaining



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               the remaining proceeds from the sale of tax foreclosed property that

               constituted the remaining Equity;

            e. if deemed a forfeiture, whether the Defendants violated either the

               Excessive Fines Clause of the United States Constitution, by retaining

               proceeds from the sale of tax foreclosed property that exceeded the

               amount of the Tax Delinquency;

            f. whether the Class Members had a protected property interest in their

               property’s Equity;

            g. whether the Defendants deprived the class members of any opportunity

               to seek the return of their Equity after foreclosure so as to deprive the

               Class Members of their procedural due process rights;

            h. whether Defendants acted arbitrarily and capriciously, and/or in a

               manner that shocks the conscience, in seizing the Class Members’

               Equity;

            i. whether Defendants violated the class members’ substantive due

               process rights in seizing the Class Members’ Equity; and

            j. whether the Defendant counties have been unjustly enriched by their

               retention of Class Members’ Equity.

      43.      The violations of law and resulting harms alleged by the named Plaintiff

are typical of the legal violations and harms suffered by all Class Members.



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      44.    Plaintiff, as Class representative, will fairly and adequately protect the

interests of the Class Members and will vigorously prosecute the suit on behalf of

the Class; and is represented by highly experienced counsel.

      45.    The maintenance of the action as a class action will be superior to other

available methods of adjudication and will promote the convenient administration

of justice, preventing possible inconsistent or varying adjudications with respect to

individual members of the Class and/or one or more of the Defendants.

      46.    Defendants have acted, failed to act, and/or are continuing to act on

grounds generally against Plaintiff and all members of the Class in the same manner.

      47.    The violations of law and resulting harms alleged by the named Plaintiff

are typical of the legal violations and harms suffered by all Class Members.

      48.    The maintenance of the action as a class action will be superior to other

available methods of adjudication and will promote the convenient administration

of justice, preventing possible inconsistent or varying adjudications with respect to

individual members of the Class and/or one or more of the Defendants.

                              COUNT I
              TAKING – FIFTH/FOURTEENTH AMENDMENT
                             VIOLATION
                            42 USC § 1983
                    (AGAINST ALL DEFENDANTS)

      49.    The prior paragraphs are restated word for word herein.




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      50.    This claim is being made against all Defendants pursuant to 42 U.S.C.

§ 1983 and § 1988.

      51.    The Fifth Amendment, made applicable to the states via the Fourteenth

Amendment, is a constitutional provision and right requiring the payment of just

compensation upon a taking by Defendants. See Knick v. Twp. of Scott, 588 U.S. ___

(2019).

      52.    Defendants have taken Plaintiff’s and the Class Members’ property

interests in the form of Equity – that is, the value of their properties to the extent

they exceed the properties’ Tax Delinquencies – and have appropriated this property

for public use without the payment of just compensation in violation of the Fifth and

Fourteenth Amendments to the United States Constitution.

      53.    Defendants have refused to take any action for the payment of just

compensation for their seizure of Equity from the Plaintiff and the Class.

      54.    By Defendants refusal to take any action for the payment of just

compensation at the time of the taking, Defendants have deprived Plaintiff and the

Class of their constitutional right to just compensation in violation of the Fifth and

Fourteenth Amendments to the United States Constitution.

      55.    The taking of Plaintiff and the Class’s property also violates42 USC §

1983 and42 USC § 1988. Plaintiff and the Class are entitled to all relief provided

by these statutes.



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      56.    Defendants have not paid just compensation.

      57.    Defendants will not now pay just compensation.

      58.    Defendants do not intend to pay just compensation in the future.

      59.    Plaintiff and the Class have been injured and have suffered damages.

                           COUNT II
           TAKING – FIFTH/FOURTEENTH AMENDMENT
                          VIOLATION
       “ARISING DIRECTLY” UNDER THE FIFTH AMENDMENT
                  (AGAINST ALL DEFENDANTS)

      60.    The prior paragraphs are restated word for word herein.

      61.    This claim is being made against all Defendants under the Fifth

Amendment directly.

      62.    The Fifth Amendment, made applicable to the states via the Fourteenth

Amendment, is a self-executing constitutional provision requiring the payment of

just compensation upon the takings undertaken by Defendants.

      63.    Defendants have taken Plaintiff’s and the Class Members’ property

interests in the form of Equity – that is, the value of their properties to the extent

they exceed the properties’ Tax Delinquencies – and have appropriated this property

for public use without the payment of just compensation in violation of the Fifth and

Fourteenth Amendments to the United States Constitution.

      64.    Defendants have refused to take any action for the payment of just

compensation for their seizure of equity from the Plaintiff and the Class.



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      65.    By Defendants refusal to take any action for the payment of just

compensation at time of the taking, Defendants have deprived Plaintiff and the Class

of their constitutional right to just compensation in violation of the Fifth and

Fourteenth Amendments to the United States Constitution and thus the violation can

be remedied by a direct claim under the Fifth Amendment.

      66.    Defendants have not paid just compensation.

      67.    Defendants will not now pay just compensation.

      68.    Defendants do not intend to pay just compensation in the future.

      69.    Plaintiff and the Class have been injured and have suffered damages.

                            COUNT III
               STATE LAW - INVERSE CONDEMNATION
                (AGAINST DEFENDANT COUNTIES AND
            TREASURERS IN THEIR OFFICIAL CAPACITIES)

      70.    The prior paragraphs are restated word for word herein.

      71.    Defendants have taken Plaintiff’s and the Class Members’ property

interests in the form of Equity – that is, the value of their properties to the extent

they exceed the properties’ Tax Delinquencies – and have appropriated this property

for public use without the payment of just compensation.

      72.    Defendants have done so without using any direct condemnation

processes, including those outlined under the Uniform Condemnation Procedures

Act, MCL 213.51, et seq.




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      73.    Defendants have not and will not provide Plaintiff and the Class

Members any opportunity to claim the Equity in their properties after the seizure

and/or later sale of their respective property, nor do Defendants provide or have a

process for Plaintiff and the Class Members to claim compensation at the time the

Defendants seized title to their taken property interests.

      74.    Defendants have not paid just compensation.

      75.    Defendants will not now pay just compensation.

      76.    Defendants do not intend to pay just compensation in the future.

      77.    An inverse condemnation with damages has occurred.

      78.    Plaintiff and the Class have been injured and have suffered damages.

                            COUNT IV
               STATE LAW – VIOLATION OF MICHIGAN
                CONSTITUTIONARTICLE X, SECTION 2
                (AGAINST DEFENDANT COUNTIES AND
             TREASURERS IN THEIR OFFICIAL CAPACITIES)

      79.    The prior paragraphs are restated word for word herein.

      80.    Defendants have taken Plaintiff’s and the Class Members’ property

interests in the form of Equity – that is, the value of their properties to the extent

they exceed the properties’ Tax Delinquencies – and have appropriated this property

for public use without the payment of just compensation.

      81.    Defendants have done so without using any direct condemnation

processes, including those outlined under the Uniform Condemnation Procedures



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Act, MCL § 213.51, et seq and in violation of Article X, Section 2 of the Michigan

Constitution.

      82.    Defendants have not and will not provide Plaintiff and the members of

the Class any opportunity to claim their Equity after the seizure and/or later sale of

their respective property, nor do Defendants provide or have a process to claim

compensation at the time the Defendants seized title to their taken property interests.

      83.    Defendants have not paid just compensation.

      84.    Defendants will not now pay just compensation.

      85.    Defendants do not intend to pay just compensation in the future.

      86.    Those Class Members whose principal residences were taken are

entitled to compensation equaling 125 percent of the properties’ fair market value

under Article X § 2 of the Michigan Constitution.

      87.    Plaintiff and the Class have been injured and have suffered damages.

                              COUNT V
                VIOLATION OF THE EIGHTH AMENDMENT
                            42 USC § 1983
                     (AGAINST ALL DEFENDANTS)

      88.    The prior paragraphs are restated word for word herein.

      89.    This Count is pled to the extent that Defendants argue or assert that

Plaintiff or any Class Member “forfeited” or, as it is sometimes described,

“relinquished” property pursuant to the Act.




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      90.    The Eighth Amendment to the United States Constitution is the part of

the United States Bill of Rights prohibiting the government from imposing excessive

fines, which the US Supreme Court has applied to action(s) involving forfeitures.

      91.    The Fourteenth Amendment applies the Eighth Amendment to states

and state actors such as Defendants.

      92.    By imposing and retaining an excessive fine in the form of the forfeiture

of value of the equity interest in property in excess of the tax delinquency, Plaintiff’s

and the Class Members’ Eighth Amendment rights have been violated. See Austin v.

United States, 509 U.S. 602 (1993).

      93.    Defendants’ retention of the Equity, which by definition is exclusive of

the Tax Delinquency, is punitive and not remedial.

      94.    The conduct of Defendants was reckless and undertaken with complete

indifference to Plaintiff’s and the Class Members’ federal rights to be free from

violations of the Eighth Amendment to the United States Constitution.

      95.    Said actions violate the Eighth Amendment to the United States

Constitution and are remedied by a money judgment against Defendants pursuant to

42 U.S.C. § 1983 and § 1988.

      96.    Plaintiff and the Class have been injured and have suffered damages.




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                             COUNT VI
                            42 USC § 1983
               VIOLATION OF PROCEDURAL DUE PROCESS
                     (AGAINST ALL DEFENDANTS)

      97.    Plaintiff restates the prior paragraphs as if restated fully herein.

      98.    The Fourteenth Amendment guarantees procedural due process to

Plaintiff and the Class.

      99.    Plaintiff and the Class have a Constitutionally-protected property

interest in the Equity of their respective properties.

      100. Defendants have denied Plaintiff and the Class Members these rights

by failing to provide for any procedure at all for Plaintiff or the Class Members to

secure a refund of their Equity after their properties’ sale at auction, or even after

their complete seizure in anticipation of same.

      101. As a direct and proximate result of the Defendants’ failure to provide

adequate procedural due process, Plaintiff and the Class Members have been injured

and have suffered damages.

      102. Neither Plaintiff nor any Class Member has an adequate remedy at law

except as set forth in this Complaint.

                             COUNT VII
                            42 USC § 1983
               VIOLATION OF SUBSTANTIVE DUE PROCESS
                     (AGAINST ALL DEFENDANTS)

      103. Plaintiff restates the prior paragraphs as if restated fully herein.



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      104. The Fourteenth Amendment guarantees substantive due process to

Plaintiff and the Class.

      105. Defendants’ conduct has deprived and is depriving Plaintiff and the

Class of their Constitutionally-protected right to their Equity.

      106. Plaintiff’s and the Class Members’ rights to their properties, and

therefore their Equity, is well established.

      107. Defendants’ conduct in destroying and/or seizing Plaintiff’s and Class

Members Equity is arbitrary and/or shocks the conscience.

      108. As a direct and proximate result of these violations, Plaintiff and the

Class Members have been injured and have suffered damages.

      109. Plaintiff and Class Members do not have an adequate remedy at law

except as asserted in this Complaint.

                              COUNT VIII
                         UNJUST ENRICHMENT
                   (AGAINST THE COUNTY DEFENDANTS)

      110. Plaintiff restates the prior paragraphs as if restated fully herein.

      111. Defendants have illegally seized Equity from Plaintiff and the Class.

      112. This illegal seizure has unjustly enriched the Defendant Counties.

      113. Under these circumstances, it is inequitable for the Defendant Counties

to retain the proceeds from the sales of the properties at auction to the extent that the

proceeds from each such sale exceeded the Tax Delinquency for each such property.



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      114. Plaintiff and Class Members do not have an adequate remedy at law

except as asserted in this Complaint.

      115. This unjust enrichment has injured and damaged the Plaintiff and the

Class Members.

                              RELIEF REQUESTED

      WHEREFORE, Plaintiff Thomas A. Fox and the Class Members respectfully

request this Court to:

          a. Enter an order certifying this case as a class action;

          b. Enter an order declaring the conduct of Defendants as being

             unconstitutional under the federal and state constitutions, even if being

             undertaken consistent with the General Property Tax Act;

          c. Enter an order for any and all damages and/or compensation as is

             deemed proper;

          d. Enter an order disgorging the County Defendants’ proceeds from the

             sales auctions to the extent that the proceeds from each such sale exceed

             the Tax Delinquencies for each respective property;

          e. Enter an order of additional damages and/or compensation to reach an

             amount equaling 125% of the property’s fair market value if this Court

             determines that private property consisting of an individual’s principal




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            residence was taken for public use pursuant to Article X, Section 2 of

            the Michigan Constitution;

         f. Enter an order for an award of interest as provided for in Knick v. Twp.

            of Scott;

         g. Enter an order for any and all damages available under federal law as

            applicable, including but not limited to an award of nominal and

            punitive damages;

         h. Enter an order for an award of attorney fees and expenses pursuant to

            all applicable laws, rules, or statutes; and

         i. Enter an order for restitution;

         j. Enter an order for all such other legal and equitable relief which the

            Court deems proper.

                                 JURY DEMAND

      For all triable issues, a jury is hereby demanded.

 Date: September 4, 2019                Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that, on September 4, 2019 I electronically filed the foregoing

 with the Clerk of the Court using the ECF system which will notify all counsel of

 record authorized to receive such filings.

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